Case 3:17-cv-00600-LB Document 120-8 Filed 09/06/19 Page 1 of 6




               EXHIBIT H
      Case 3:17-cv-00600-LB Document 120-8 Filed 09/06/19 Page 2 of 6




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 7
   Attorneys for Plaintiff
 8 RENEE LEPAGE

 9                               UNITED STATES DISTRICT COURT

10              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

11

12 RENEE LEPAGE, an individual,                  Case No. 3:17-cv-00600-LB

13                 Plaintiff,                    PLAINTIFF’S PROPOSED JURY
                                                 QUESTIONNAIRE OR, IN THE
14        vs.                                    ALTERNATIVE, VOIR DIRE
                                                 QUESTIONS
15 COUNTY OF NAPA; COUNTY OF NAPA
   SHERIFF’S DEPARTMENT; AND DEPUTY
16 TIMOTHY REID,

17                 Defendants.

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                                                                     Case No. 3:17-cv-00600-LB
     PLAINTIFF’S PROPOSED JURY QUESTIONNAIRE OR, IN THE ALTERNATIVE, VOIR DIRE QUESTIONS
       Case 3:17-cv-00600-LB Document 120-8 Filed 09/06/19 Page 3 of 6




 1          Pursuant to the Case Management and Pretrial Order (Jury), Dkt. No. 31, Plaintiff Renee

 2 LePage proposes the attached jury questionnaire, which is similar to the Court’s standard jury

 3 questionnaire. The proposed questionnaire omits only three questions that appear in the Court’s

 4 standard questionnaire and adds three additional questions that do not appear in the Court’s

 5 standard questionnaire. See Questionnaire Nos. 12-14. To the extent the Court decides not to

 6 include one or more of Ms. LePage’s proposed questions in a jury questionnaire, Ms. LePage

 7 respectfully requests that the questions be asked during voir dire but still distributed to the jurors

 8 in writing to facilitate an efficient voir dire.

 9 DATED: September 6, 2019                       MUNGER, TOLLES & OLSON LLP

10
                                                  By:         /s/ Miriam Kim
11
                                                       MIRIAM KIM
12                                                Attorneys for Plaintiff
                                                  RENEE LEPAGE
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                                             -2-                      Case No. 3:17-cv-00600-LB
      PLAINTIFF’S PROPOSED JURY QUESTIONNAIRE OR, IN THE ALTERNATIVE, VOIR DIRE QUESTIONS
          Case 3:17-cv-00600-LB Document 120-8 Filed 09/06/19 Page 4 of 6




 1                                             CONFIDENTIAL
 2                                       JUROR QUESTIONNAIRE
 3           Please fill out this form as completely as possible and print clearly. Do not write on the
 4 back of any page. Instead, if you need more room, use the space at the end. Thank you.

 5 1.       Your name:

 6 2.       City in which you reside:

 7 3.       Your place of birth:

 8 4.       Are you married or do you have a domestic partner? ____Yes ____ No

 9 5.       Please list the occupation of your spouse or domestic partner.

10
     6.     If you have children, please list their ages and sex and, if they are employed, please give
11
            their occupations.
12

13

14 7.       What is your occupation and how long have you worked in it? (If you are retired, please
            describe your main occupation when you were working).
15

16

17 8.       Who is (or was) your employer?

18
     9.     How long have you worked for this employer?
19

20 10.      Please describe your education background:
21             Highest grade completed:
               College and/or vocational schools you have attended:
22

23             Major areas of study:
24 11.      Have you ever had jury experience? ______ Number of times? ______
25          If yes: State/County Court ______ Federal Court ______
            When? ______________________Was it a civil or criminal case?
26          Did any of the juries reach a verdict? ______Yes ______No

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                                             -3-                      Case No. 3:17-cv-00600-LB
      PLAINTIFF’S PROPOSED JURY QUESTIONNAIRE OR, IN THE ALTERNATIVE, VOIR DIRE QUESTIONS
       Case 3:17-cv-00600-LB Document 120-8 Filed 09/06/19 Page 5 of 6




 1 12.     Have you, any relatives, close friends, or neighbors had any education, training, or work or
           volunteer experience in law enforcement? (“Law enforcement” includes any police or
 2         sheriff’s department, state police, highway patrol, jail or prison, military police, FBI, DEA,
           CIA, U.S. Marshal, prosecutor’s office, or any other law enforcement agency.)
 3
           ______Yes ______No
 4         If you answered YES, please explain.

 5
     13.   Do you know anyone who has ever been employed by the County of Napa, including the
 6         Napa County Sheriff’s Office? ______Yes ______No
           If you answered YES, please explain.
 7

 8
     14.   Have you ever had any experience with, or do you have any connection with, any of the
 9         individuals or entities named below? (Check all that apply and please provide details after
           the name of the individual or entity.)
10
           Parties                                                          Please Explain Connection
11

12         ____ Renee LePage

13         ____ Timothy Conrad Reid

14         ____ County of Napa

15         ____ Napa County Sheriff’s Department
16         Law Firms                                                        Please Explain Connection
17         ____ Munger, Tolles, & Olson LLP
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           ____ Allen, Glaessner, Hazelwood & Werth LLP
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                                             -4-                      Case No. 3:17-cv-00600-LB
      PLAINTIFF’S PROPOSED JURY QUESTIONNAIRE OR, IN THE ALTERNATIVE, VOIR DIRE QUESTIONS
      Case 3:17-cv-00600-LB Document 120-8 Filed 09/06/19 Page 6 of 6




 1      Lawyers                                                   Please Explain Connection
 2      ____ Dale Allen
 3      ____ Skylar Brooks
 4      ____ Emily Curran-Huberty
 5
        ____ Phillip Downs
 6
        ____ Miriam Kim
 7
        Potential Witnesses                                       Please Explain Connection
 8
        ____ James Chen
 9
        ____ Cullen Dodd
10
        ____ Molly Hendry
11

12      ____ Michael Jarecki

13      ____ Eric Madsen

14      ____ Thomas Mampalam

15      ____ Jeff Matlock
16      ____ Nicole Noonan-Miller
17      ____ Geoffrey Rochester
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                                            -5-                      Case No. 3:17-cv-00600-LB
     PLAINTIFF’S PROPOSED JURY QUESTIONNAIRE OR, IN THE ALTERNATIVE, VOIR DIRE QUESTIONS
